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SERVICE LIST
In re GTL (USA), Inc.                        3T Pro, Inc.                             3T Productions, Inc.
Case No. 15-40248                            825 Market Street Bldg M Ste 205         825 Market Street, Building M, Suite 205
Updated as of April 2, 2016                  Allen, TX 75013-3770                     Allen, TX 75013-3770
KRCL File No. 3864531v1

                                             *ADA Cellworks SDN BHD
A Shred 2 Pieces                             Suite 10.05-10.07, 10th Floor, Plz 138   ADT Security Services
2320 Hinton Drive                            Annex. To Hotel Maya Kuala Lumpur, 138   7801 Mesquite Bend #110
Irving, TX 75061-5708                        Jalan Ampang, 50450 Kuala Lumpur,        Irving, TX 75063-6043
                                             Malaysia


ACTIX                                        AGA Islamic Organization                 Actix Inc.
45365 Vintage Park Plaza, Suite 110          1123 Staples Drive                       45365 Vintage Park Plaza, Suite 110
Sterling, VA 20166-6720                      Lilburn, GA 30047-2385                   Dulles, VA 20166-6720



                                             Abdul Qureshi                            Adefalujo, Adegbayi
ADT Security Services
                                             c/o The Sharman Law Firm LLC             5200 Tennyson Parkway
P.O. BOX 371878
                                             11175 Cicero Drive Suite 100             Suite 200
Pittsburgh, PA 15250-7878
                                             Alpharetta, GA 30022-1166                Plano, TX 75024-7147


                                             All Stars Transportation
Advanced Wireless Solutions                  A S Transportation                       Allied Waste Services
4402 South Congress Avenue, Suite 203        A S Transportation, Inc.                 2980 Granger Drive
Austin, TX 78745-1966                        12415 Coral Drive                        Springfield, IL 62707-3557
                                             Frisco, TX 75034-0336

                                                                                      American Express Travel Related Services
Ameren Illinois                              American Express                         Company, Inc.
300 Liberty Street                           PO Box 360001                            c/o Becket and Lee LLP
Peoria, IL 61602-1404                        Fort Lauderdale, FL 33336-0001           POB 3001
                                                                                      Malvern, PA 19355-0701


                                                                                      Arni Arvr
Amvet Solutions, Inc                         Arizona Dept of Revenue
                                                                                      Ascom Network Testing, Inc.
4527 Gaylord Drive                           P.O Box 29085
                                                                                      1943 Isaac Newton Square
Troy MI 48098-4456                           Phoenix, AZ 85038-9085
                                                                                      Reston, VA 20190-5012


                                             Ascom Network Testing, Inc.
Ascom Network Testing, Inc.                                                           Atmos Energy Corporation
                                             Jeffrey L. Tarkenton
Caroline Kahl, Esq.                                                                   Attn: Bankruptcy Dept.
                                             Wombie Carlyle Sandridge & Rice, LLP
1943 Isaac Newton Square                                                              PO Box 650205
                                             1200 Nineteenth Street, N.W. Suite 500
Reston, VA 20190-5012                                                                 Dallas, TX 75265-0205
                                             Washington, DC 20036-2421

                                                                                      Attorney General United States
Atiya Jogezai                                Atmos Energy                             Office of the Attorney General
9401 Caliente Dr.                            PO Box 790311                            Main Justice Building, Room 5111
McKinney, TX 75070-8841                      St. Louis, MO 63179-0311                 10th & Constitution Ave, NW
                                                                                      Washington, DC 20530-0001

                                                                                      AutoOpt Networks, Inc.
Attorney Recovery System, Inc.               AutoOpt Networks, Inc.
                                                                                      c/o Craig A. Albert
assignee of Microlease                       Dipesh Shah
                                                                                      Cherry Petersen Landry Albert LLP
18757 Burbank Blvd., #300                    280 San Moreno Place, Suite 108
                                                                                      8350 N. Central Expwy., Suite 1500
Tarzana, CA 91356-6329                       Fremont, CA 94539-3666
                                                                                      Dallas, TX 75206-1619



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                                          Avis Budget Group
                                                                                 Avis Rent A Car System, LLC
Avis Budget Group                         c/o Brett S. Moore, Esq.
                                                                                 Vehicle Damage Claims Department
6 Sylvan Way                              Porzio, Bromberg & Newman, P.C.
                                                                                 P.O. Box 409309
Parsippany, NJ 07054-3826                 100 Southgate Parkway
                                                                                 Atlanta, GA 30384-9309
                                          Morristown, New Jersey 07960-6465


                                                                                 Aseem Batla
Avis Rent a Car System, LLC               Avis Rentals
                                                                                 Informage SQN Technologies, LLC
14 Main St., Suite 413                    7876 Collection Center Drive
                                                                                 8415 Custer Road, Suite 105
Brunswick, ME 04011-2055                  Chicago, IL 60693-0078
                                                                                 Plano, TX 75023-7547


                                          Berger Harris                          James H. Billingsley
BeetaTek, Inc.
                                          1105 N. Market Street                  Polsinelli PC
1333 Corporate Dr. Suite 105
                                          11th Floor                             2950 N. Harwood, Suite 2100
Irving, TX 75038-2516
                                          Wilmington, DE 19801-1216              Dallas, TX 75201-1034


Bridgepoint Consulting LLP
                                          BullDog Warehousing                    Bulldog Warehousing
c/o Dawn Ragan
                                          1717 Angel Parkway, Suite 107          910 10th Street # 800
1700 Commerce Street, Suite 810
                                          Allen, TX 75002-2690                   Plano, TX 75074-6802
Dallas, TX 75201-5116


CA Unemployment Tax                       Collin County Tax Assessor/Collector   CT Corporation
Employment Development Department         c/o Gay McCall Isaacks et al           Dallas Corporate Team 2
PO Box 826880                             777 E 15th St                          1999 Bryan Street, Ste 900
Sacramento, CA 94280-0001                 Plano, TX 75074-5799                   Dallas, TX 75201-3140


CT Corporation
                                          CT Corporation                         Carrington Coleman
Department of Business Services
                                          P O Box 4349                           901 Main Street, Suite 5500
501 S Second Street
                                          CarolStream, IL 60197-4349             Dallas, TX 75202-3767
Springfield, IL 62756-1000


                                                                                 Cisco WebEX LLC
Cellwave Inc.                             Checkpast
                                                                                 Mail Stop RTP4E/3
Cellwave Inc                              P.O Box 534305
                                                                                 7025-4 Kit Creek Road
West Hollywood, CA 90048                  Atlanta, GA 30353-4305
                                                                                 Research Triangle Park, NC 27709-0160



Citizens Energy Group                     City Water, Light & Power              Collin County Tax Assessor/Collector
PO Box 7056                               300 S. 7th Street                      PO Box 8046
Indianapolis, IN 46207-7056               Springfield, IL 62757-1000             McKinney, TX 75070-8006



Comcast (Skokie and Springfield)          Comcast (CA)                           Comcast (Indiana)
PO Box - 3001                             PO Box - 34744                         PO Box - 7500
Southeastern, PA 19398-3001               Seattle, WA 98124-1744                 Southeastern, PA 19398-7500


Commissioner of Taxation & Finance
                                                                                 Commonwealth of Massachusetts
NYS Assessment Receivables                Commonwealth Edison (ComED)
                                                                                 Massachusetts Department Of Revenue
General Post Office                       PO Box 6111
                                                                                 P.O Box 7005
P O Box 4128                              CarolStream, IL 60197-6111
                                                                                 Boston, MA 02204-7005
Binghamton, NY 13902-4128



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Commonwealth of Virginia
                                          Communication Infrastructure Corporation   Connex Systems, Inc.
Department of Taxation
                                          1000 Town Center Drive, Suite 300          2033 Chenault Drive #150
P.O. Box 2156
                                          Oxnard, CA 93036-1117                      Carrolton, TX 75006-4968
Richmond, VA 23218-2156


                                          S. Christopher Conway
ConstantContact                                                                      Corporate Construction Services, Inc.
                                          301 W. High Street
1601 Trapelo Road, Suite 329                                                         5061 24th Street
                                          P. O. Box 475
Waltham, MA 02451-7357                                                               Sacramento, CA 95822-2201
                                          Jefferson City, MO 65102-0475


Culhane Meadows, PLLC
c/o Cheryl Diaz / Richard G. Grant        Cumberland County Tax Bureau               DAS Group, LLC
Lynnette R. Warman                        21 Waterford Drive, Suite 201              9508 Curran Road
100 Crescent Court, Suite 700             Mechanicsburg, PA 17050-8268               Silver Springs, MD 20901-4746
Dallas, TX 75201-2112


DES Unemployment Tax
                                          DL George & Sons, Inc.                     De Lage Landen Financial Services
Arizona Department of Economic Security
                                          20 E. 6TH ST.                              1111 Old Eagle School Rd
P O Box 52027
                                          Waynesboro, PA 17268-9491                  Wayne, PA 19087-1453
Phoenix, AZ 85072-2027


Delaware Secretary of State
                                          Department of Revenue                      Digital Discovery
Division of corporation
                                          P.O Box 23075                              8131 LBJ Freeway, Suite 325
Post Office Box 5509
                                          Jackson, MS 39225-3075                     Dallas, TX 75251-4603
Binghamton, NY 13902-5509


Director of Revenue
                                          Dish Network                               Dish Network
Secretary of State
                                          PO Box 9033                                PO Box 105169
PO Box 1366
                                          Littleton, CO 80160-9033                   Atlanta, GA 30348-5169
Jefferson City, MS 65102-1366



Duke Seth PLLC                            Dun & Bradstreet                           E-Z Pass Customer Service Center
325 N St. Paul, Suite # 2220              22761 Pacific Coast Highway                PO Box 149004
Dallas, TX 75201-3843                     Malibu, CA 90265-5064                      Staten Island, NY 10314


ESA P Portfolio L.L.C
                                          EZPass
Extended Stay America                                                                Electro Rent Corporation
                                          TOLL BILL Payment Processing Center
Attn: Dawn Muse                                                                      6060 Sepulveda Blvd
                                          P.O. Box 15183
11525 N. Community House Rd, Suite 100                                               Van Nuys, CA 91411-2525
                                          Albany, NY 12212-5183
Charlotte, NC 28277-3610


                                                                                     Enterprise
Emerald Park Apartments                   Employment Development Department
                                                                                     Dallas/Fort Worth
5050 Hacienda Drive                       PO Box 989150
                                                                                     4201 North State Highway 161 #150
Dublin, CA 94568-7948                     West Sacramento, CA 95798-9150
                                                                                     Irving, TX 75038-1484


Enterprise FM Trust                       Enterprise FM Trust
                                                                                     Enterprise Fleet Management, Inc.
Enterprise Fleet Management, Inc.         c/o Enterprise Fleet Management, Inc.
                                                                                     2625 Marketplace
9315 Olive Blvd                           2625 Marketplace
                                                                                     Harrisburg, PA 17110-9362
SaintLouis, MO 63132-3211                 Harrisburg, PA 17110-9362



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Epstein Becker Green                            Extended Stay Hotels                       FasTrack
One Gateway Center                              11525 N. Community House Road #100         PO Box 26926
Newark, NJ 07102-5321                           Charlotte, NC 28277-3610                   San Francisco, CA 94126-6926



Fastrak                                         FedEx                                      FedEx Corporation
62 First Street                                 PO Box 660481                              2201 W Plano Parkway
San Francisco, CA 94105-2508                    Pineville, AR 72566                        Plano, TX 75075-8413



FedEx TechConnect, Inc.                         Fitzpatrick Lentz & Bubba                  Flashback Data LLC
Attn: Revenue Recovery/Bankruptcy               4001 Schoolhouse Lane                      Michael O’Connell
3965 Airways Blvd. Module G.,3rd Floor          P.O. Box 219                               4029 S. Capital of TX Hwy Ste 224
Memphis, TN 38116-5017                          Center Valley, PA 18034-0219               Austin, TX 78704-7920



Flat Iron Capitol                               Fleckman & McGlynn PLLC                    Fleetcor Technologies
1700 Lincoln Street, 12th Floor                 515 Congress Avenue, Suite 1800            16800 Greenspoint Park, Ste 255N
Denver, CO 80203-4501                           Austin, TX 78701-3517                      Houston, TX 77060-2387



Fleetmatics                                     Fleetmatics Group, PLC                     Forsk
3030 Salt Creek Lane                            1100 Winter Street, 4th Floor              200 South Wacker Drive, Suite # 3100
Arlington Heights, IL 60005-5003                Waltham, MA 02451-1473                     Chicago, IL 60606-5877



Franchise Tax Board                                                                        GKII Plano LP Phase II
                                                Further Enterprise Solutions
Bankruptcy Section MS A340                                                                 MSC 265
                                                535 Route 38, Suite 149
P.O Box 2952                                                                               PO Box 29048
                                                Cherry Hill, NJ 08002-2900
Sacramento, CA 95812-2952                                                                  Phoenix, AZ 85038-9048


GKII Plano, L.P.                                                                           *Global Proserve Limited
                                                *Global InvovSource Solutions, Pvt. Ltd.
c/o Lincoln Property Commercial, Inc.                                                      Electronic Sadan 2, MIDC
                                                A-2 Kailas Industrial Complex
2000 McKinney Ave. Suite 1000                                                              TTC Industrial Area
                                                Park Site. Vikroli (W) Mumbai 400 079
Dallas, TX 75201-2027                                                                      Mahape, Navi Mumbai 400 710


                                                                                           Georgia Department of Revenue
                                                Georgia Dept of Labor
General Information Services, INc.                                                         Compliance Division
                                                148 Andrew young International BLVD, NE
PO Box 538450                                                                              Arcs Bankruptcy
                                                Suite 752
Atlanta, GA 30353-8450                                                                     1800 Century Blvd Ne Suite 9100
                                                Atlanta, Georgia 30303-1751
                                                                                           Atlanta, GA 30345-3202


                                                Global Crossing Communications             Global Value Add Inc.
Global Computer Suppliers Inc.
                                                Global Crossing Conferencing               8765 Stockyard Drive
PO Box - 935308
                                                PO Box 790407                              Unit 101
Atlanta, GA 31193-5308
                                                St Louis, MO 63179-0407                    Frisco, TX 75034-8006


GreatAmerica Financial Services
Corporation                                     GreatAmerica Financial Services Corp       Green Mountain Energy
Attn: Peggy Upton, Litigation Specialist        625 First Street SE                        1255 W 15th Street, Ste. 100
PO Box 609                                      Cedar Rapids, IA 52401-2030                Plano, TX 75075-7262
Cedar Rapids, IA 52406-0609



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*ADA Cellworks Engineering PVT Ltd.
                                             H.R. Brun & Company, Inc.                    HUD
Electronic Sadan 2, MIDC
                                             25906 Echo Terrace St                        1600 Throckmorton
TTC Industrial Area
                                             San Antonio, TX 78260-6264                   Fort Worth, TX 76102-6600
Mahape Navai Mumbai 400 710


                                                                                          Hertz Corporation
Habbu & Park Inc                             Hertz Claim Center                           Commercial Billing
95 South Market Street, Suite 530            PO Box 782293                                Department 1124
San Jose, CA 95113-2306                      Orlando, FL 32878-2293                       PO Box 121124
                                                                                          Dallas, TX 75312-1124


Hertz Corporation                            James Holt                                   *IGTL Network Services Philippines, Inc.
Attn: Commercial Billing Dept.               McGrath Rentcorp                             8th Floor, Rm 802, Vicente Madrigal Bld
14501 Hertz Quail Springs Pkwy               P.O. Box 619260                              6793 Ayala Avenue
Oklahoma City, OK 73134-2606                 Dallas, TX 75261-9260                        Makati, Philippines 1221


                                             Illinois Department of Employment Security
Iftekhar Haq                                                                              Illinois Department of Revenue
                                             33 South State Street
7514 Diplomat Drive, Suite 201                                                            P.O. Box 64338
                                             Bankruptcy Unit - 10th Fl.
Manassas, VA 20109-2692                                                                   Chicago, IL 60664-0338
                                             Chicago, IL 60603-2808


                                                                                          Informage SQN Technologies LLC
Indianapolis Power and Light Company         Informage SQN Technologies LLC
                                                                                          c/o Padfield & Stout LLP
2102 N. Illinois Street                      8415 Custer Road, Suite 105
                                                                                          421 W. Third St., Ste. 910
Indianapolis, Indiana 46202-1330             Plano, TX 75023-7547
                                                                                          Fort Worth, TX 76102-3751


                                                                                          Department of the Treasury
*Innovsource Private Limited                 Insperity PEO Services, L.P.
                                                                                          Internal Revenue Service
A-2 Kailas Industrial Complex                545 E. John Carpenter Frwy, Suite 1200
                                                                                          PO Box 7346
Park Site. Vikroli (W) Mumbai 400 079        Irving, TX 75062-8142
                                                                                          Philadelphia, PA 19101-7346


Internal Revenue Service ACS Support POB                                                  Ipass
                                             Intuit, Inc.
36 Hillcrest Avenue                                                                       Illinois Tollway
                                             PO Box 52044
POB 325                                                                                   2700 Ogden Ave
                                             Phoenix, AZ 85072-2044
Charleston, WV 25322-0325                                                                 Downers Grove, IL 60515-1703



Israeloff Trattner & Co CPAs PC              J2 Global (Fax.com)                          JAZ Design Co
1225 Franklin Avenue, Suite 200              PO Box 513000                                PO Box 35
GardenCity, NY 11530-7904                    Los Angeles, CA 90051-1000                   Rossvile, PA 17358-0035



                                             JDS Uniphase Corporation                     Jamie McLain
JDS Uniphase Corporation
                                             Attn: Dan Clayton                            c/o Red Door Property Management, Inc.
5793 Collections Center Drive
                                             430 N. McCarthy Blvd                         3815 River Crossing Pky, Suite 100
Chicago, IL 60693-0057
                                             Milpitas, CA 95035-5112                      Indianapolis, IN 46240-7766


Pentacrown, LLC
Jan-Pro Cleaning Systems of Dallas/          John DeMarco                                 Kadakkal Staffing, LLC
Fort Worth                                   220 Creekwood Drive                          4105 Madison Bridge Drive
3001 Gateway Drive Suite 105                 Camp Hill, PA 17011-8428                     Suwanee, GA 30024-1331
Irving, TX 75063-6078



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                                            Kenneth L Maun
*Kaizen Advisory Services                   Tax Assessor Collector, Collin County      Kineticom USA
78 Shenton Way. #26-02A Lippo Building      2300 Bloomdale RD                          701 B Street, Suite 1350
Singapore 079120                            STE 2324, PO Box 8006                      San Diego, CA 92101-8170
                                            McKinney, TX 75071-8517

                                            Kunal Kapai
Kunal Kapai                                 c/o Lee L. Cameron, Jr./Allison Maynard    Larry Keer
8727 Issac Street                           Wilson, Elser, Moskowitz, Edelman & Dick   9360 Skokie Blvd, #612
Plano, TX 75024-8507                        901 Main Street, Suite 4800                Skokie, IL 60077-5606
                                            Dallas, TX 75202-3758


                                            Legacy Apartments                          Level 3 Communications, LLC
Lawson Travel
                                            Legacy Apartments in Plano, TX             1025 Eldorado Blvd.
1140 Empire Central Drive, Suite 620
                                            6909 Custer Road                           Attn: Legal Dept. (BKY)
Dallas, TX 75247-4321
                                            Plano, TX 75023-1719                       Broomfield, CO 80021-8869


Marlin Business Bank
                                            MBC Management                             Mike Grossman
Attn: Bankruptcy Dept.
                                            1306 South 6th Street                      156 Prince George Street
300 Fellowship Road
                                            Springfield, IL 62703-2490                 Annapolis, MD 21401-1723
Mount Laurel, NJ 08054-1201


                                            Mars Group Inc.
Manjit Kaur                                                                            McGrath RentCorp dba TRS-Ren Telco
                                            1701 E. Empire St.
9219 Jasmine Lane                                                                      PO Box 619260
                                            Ste#360-279
Irving, TX 75063-4234                                                                  DFW Airport, TX 75261-9260
                                            Bloomington, IL 61704-3532



McGrath RentCorp, Inc.                      McKinney Drilling Company                  Micro Center
5700 Las Positas Road                       PO Box 78                                  13929 N. Central Expressway
Livermore, CA 94551-7806                    Delmont, PA 15626-0078                     Dallas, TX 75243-1007



                                                                                       Missouri Department of Revenue
Microlease                                  Minuteman Press @ Plano
                                                                                       Bankruptcy Unit
3486 Investment Blvd.                       5212 Tennyson Parkway, Suite 110
                                                                                       PO Box 475
Hayward, CA 94545-3811                      Plano, TX 75024-4227
                                                                                       Jefferson City, MO 65105-0475

Mohammed Khateeb Ahsan
Mohd Ahsan
                                            Monster Wordwide Inc.                      NTTA
c/o Peter Gimbel Esq.
                                            PO Box 90364                               5900 W. Plano Parkway
Law Offices of Nadeem H. Makada
                                            Chicago, IL 60696-0364                     Plano, TX 75093-4695
1340 Bayshore Highway
Burlingame, CA 94010-1803

                                                                                       Nevill Document Solution
National Telesystems Inc.                   Nevill Business Machines, Inc.
                                                                                       (ACCT#124024) (acct # DAH898)
10525 Newkirk Street, Suite 220             1305 West Beltline, Suite 320
                                                                                       2825 Story Rd West
Dallas, TX 75220-2330                       Carrollton, TX 75006-6980
                                                                                       Irving, TX 75038-5268


                                            New York State Corporation Tax
Nevill Document Solutions                                                              Nicor Inc.
                                            Processing Unit
300 Fellowship Road                                                                    PO Box 190
                                            P.O Box 22094
Mount Laurel, NJ 08054-1201                                                            Aurora, IL 60507-0190
                                            Albany, NY 12201-2094



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                                            Timothy W. O’Neal
                                                                              Oklahoma Tax Commission
Nile Technology                             Sam M Baker
                                                                              General Counsel's Office
6403 Franconia Ct                           Office of the U.S. Trustee
                                                                              100 N Broadway Ave, Suite 1500
Springfield, VA 22150-1204                  110 N. College Ave., Suite 300
                                                                              Oklahoma City, OK 73102-8601
                                            Tyler, TX 75702-7231

                                            Oklahoma Employment Security
Ohio Bureau of Workers’ Compensation        Commission                        Olmar Corporation
30W Spring Street                           Cashier                           1703 North Front Street
Columbus, OH 43215-2256                     P.O Box 52004                     Harrisburg, PA 17102-2305
                                            Oklahoma City, OK 73152-2004

                                            P.V. Holdings, Inc. D.B.A. Avix
Origin to Future, Inc.                      Avis                              PCTEL, Inc.
181 New Road, Suite 221                     c/o Teresa Husted                 20410 Observation Drive, Suite 200
Parsippany, NJ 07054-5652                   300 Centre Pointe Dr.             Germantown, MD 20876-4093
                                            Virginia Beach, VA 23462-4415


PEO Services, L.P. (Insperity)              Paychex                           Pitney Bowes Inc.
19001 Crescent Springs Drive                1175 John Street                  2225 American Drive
Kingwood, TX 77339-3802                     West Henrietta, NY 14586-9199     Neenah, WI 54956-1005



                                            Premium Assignment Corporation
Premium Assignment Corporation                                                Prithvi Information Solutions LLC
                                            Attn: Kelton M. Farris
PO Box 8000                                                                   10900 NE 4th #2300
                                            3522 Thomasville Rd. Suite 400
Tallahassee, FL 32314-8000                                                    Bellevue, WA 98004-5882
                                            Tallahassee, FL 32309-3488



Pure Health Solutions Inc.                  Quad Tech Solutions Inc.          RMCI Construction LLC
950 Corporate Woods Parkway                 3 Parity Road,                    6917 Russell Curry Road
VernonHills, IL 60061-3155                  Brampton, ON L6X 0Z3              Arlington, TX 76001-6668



Radha Krushn Communications, Inc.           Rahil Ahmad                       Red Door Management Inc.
143 Birch Street, Ste. 108                  3212 Golden Springs Drive         3815 River Crossing Parkway Suite 100
Carpentersville, IL 60110-1678              Plano, TX 75025-3924              Indianapolis, IN 46240-7766



                                            Rogers & Hardin LLP
Reliant Energy                                                                Royal Bank of America Leasing
                                            2700 International Tower
PO Box 3765                                                                   550Township Line Road, Ste 425
                                            229 Peachtree Street N. E
Houston, TX 77253-3765                                                        Blue Bell, PA 19422-2734
                                            Atlanta, GA 30303-1601


                                            SQN Technologies, LLC
S & K Electrical Contracting, LLC           c/o Mark Stout                    Saimtek Inc
26 Lucas Lane                               Padfield & Stout, L.L.P           1441 E Maple Rd, Suite 314
Gonzales, TX 78629-2800                     421 W. Third Street, Suite 910    Troy, MI 48083-4025
                                            Fort Worth, TX 76102 US


Securities and Exchange Commission          Security Life Insurance Co.       Select Laundry
801 Cherry St # 1                           PO Box 68                         PO Box 426
Fort Worth, TX 76102-6881                   East Petersburg, PA 17520-0068    Arvada, CO 80001-0426




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Oklahoma Tax Commission                       Michelle E. Shriro                      Kartik R. Singapura
General Counsel's Office                      Singer & Levick, P.C.                   Cherry Petersen Landry Albert LLP
120 N. Robinson, Ste 2000W                    16200 Addison Rd., Ste. 140             8350 N. Central Expressway, Suite 1500
Oklahoma City, OK 73102                       Addison, TX 75001-5377                  Dallas, TX 75206-1619


Amanda Morreale
c/o W. Charles Sipio                          Morgan Lewis & Bockius LLP              Small Business Administration
Kolman Ely P.C.                               1701 Market Street                      4300 Amon Carter Blvd, Ste. 114
414 Hulmeville Ave.                           Philadelphia, PA 19103-2921             Fort Worth, TX 76155-2652
Penndel, PA 19047-5517


Software Quality Leaders, Inc.                Howard Marc Spector                     Staples Inc.
12000 Ford Road, Suite A411                   12770 Coit Road, Ste. 1100              3333 Preston Road
Dallas, TX 75234-7249                         Dallas, TX 75251-1329                   Frisco, TX 75034-9013


                                              Texas Comptroller of Public Accounts
                                                                                      State of New Jersey
Jason Starks                                  Revenue Accounting Div - Bankruptcy
                                                                                      Division of Taxation-Corporation Tax
300 West 15th St., 8th Floor                  Section
                                                                                      P.O Box 666
Austin, TX 78701-1649                         PO Box 13528
                                                                                      Trenton, NJ 08646-0666
                                              Austin, TX 78711-3528

State of New Jersey - CBT
Department of the Treasury-Division of        Sunbiz.org                              Swingle Collins & Associates
Revenue Processing Center                     2661 Executive Centre Circle West       13760 Noel Road, Ste. 600
P.O Box 666                                   Tallahassee, FL 32301-5020              Dallas, TX 75240-1381
Trenton, NJ 08646-0666


                                              TBrij LLC (dba Corporation Cars)
T-Mobile International AG                                                             TMAC Mechanical
                                              TBril LLC dba Corporation Cars
2408 Preston Road, Ste. 704b                                                          11126 Shady Trail, Suite # 110
                                              453 Arbol
Plano, TX 75093-2335                                                                  Dallas, TX 75229-7697
                                              Irving, TX 75039-3038


TRS RenTelco                                  TRS RenTelco
                                                                                      TW Telecom
1830 West Airfield Drive                      1830 West Airfiled Drive
                                                                                      PO Box 172567
PO Box 613260                                 PO Box 613260
                                                                                      Denver, CO 80217-2567
Dallas, TX 75261                              Dallas, TX 75261



TW Telecom Holdings, Inc.                     Talley                                  Texas Attorney General
PO Box 172567                                 PO Box 511390                           1412 Main Street Suite 81
Denver, CO 80217-2567                         Los Angeles CA 90051-7945               Dallas, TX 75202-4014



Texas Attorney General                        Texas Attorney General                  Texas Workforce Commission
Bankruptcy Collections Division               PO Box 12548                            101 East 15th Street
Austin, TX 78711-2548                         Austin, TX 78711-2548                   Austin, TX 78778-0001


Texas Workforce Commission                    Texas Workforce Commission
                                                                                      The New Jersey Division of Taxation
Jason Starks                                  Regulatory Integrity Division - SAU
                                                                                      Corp. Service Audit group
c/o Sherri K. Simpson, Paralegal              OAG, Bankruptcy-Collection Div MC 008
                                                                                      PO Box 277
P.O. Box 12548                                P.O. Box 12548
                                                                                      Trenton, NJ 08695-0277
Austin, TX 78711-2548                         Austin, TX 78711-2548



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Transceive Communications, Inc.            TransmediaX                             TraveloPod Inc.
4394 Enterprise Pl                         125 Hopewell Grove Drive, Suite #100    1111 W El Camino Real, Suite 109-240
Fremont, CA 94538-6365                     Alpharetta, GA 30004-6989               Sunnyvale, CA 94087-1056


                                           Treasury of Virginia                    U.S. Attorney General
Travis Wolff
                                           State Corporation Commission            Department of Justice
15950 N. Dallas Parkway
                                           Clerk’s office                          Main Justice Building
Suite 600
                                           PO Box 7607                             10th & Constitution Ave., NW
Dallas, TX 75248-6685
                                           Merrifield, VA 22116-7607               Washington, DC 20530-0001


US Cellular Corporation, Inc               US Department of Homeland Security      United Concordia
8410 W. Bryn Mawr Ave.                     6500 Campus Circle Drive East           P.O. Box 827399
Chicago, IL 60631-3418                     Irving, TX 75063-2715                   Philadelphia, PA 19182-7



                                                                                   Internal Revenue Service
United Healthcare                          United States Attorney
                                                                                   Centralized Insolvency Operations
Dept. CH 10151 600550151C0009              3rd Floor, 1100 Commerce St
                                                                                   PO Box 7346
Palatine IL 60055-0001                     Dallas, TX 75242-1699
                                                                                   Philadelphia, PA 19101-7346


                                                                                   Urmeet S. Juneja
Universal Mobile Telecom                   Universal Premium
                                                                                   c/o Mr. Steven A. Fleckman
34475 Mound Road                           PO Box 923928
                                                                                   515 Congress Avenue, Suite 1800
Sterling Heights, MI 48310-5761            Norcross, GA 30010-3928
                                                                                   Austin, Texas 78701-3517


                                           VAR Resources
Utah State Tax Commission                  Leasing Customer Service                VAR Resources, Inc.
210 North 1950 West                        MAC N00050055                           2330 Interstate 30
Salt Lake City, UT 84134-0180              800 Walnut Street                       Mesquite, TX 75150-2720
                                           Des Moines, IA 50309-3605


Verizon Communications (Verizon)           Village of Skokie                       Virginia Department of Taxation
8555 Preston Road                          5127 Oakton Street                      P O Box 2156
Frisco, TX 75034-5606                      Skokie, IL 60077-3600                   Richmond, VA 23218-2156



                                                                                   Wells Fargo Financial Leasing, Inc.
WEX Bank                                   WEX Inc.
                                                                                   800 Walnut Street
PO Box 6293                                97 Darling Avenue
                                                                                   MAC N0005-055
Carol Stream, IL 60197-6293                So. Portland, ME 04106-2301
                                                                                   Des Moines, IA 50309-3605


Wells Fargo Insurance Services Inc.
                                           West Virginia State Tax Department
6100 Fairview Road                                                                 Williams Mullen
                                           Tax Account Administration Department
10th Floor (28210)                                                                 321 East Main St., Suite 400
                                           P O Box 11514
PO Box 220748                                                                      Charlottesville, VA 22902-3201
                                           Charleston, WV 25339-1514
Charlotte, NC 28222-0748


WireTel                                    Xceed Technologies Inc.                 Xcell, Inc.
24914 Tomball Pkwy,                        43130 Amberwood Plaza, Suite 200        850 Olive Street
Tomball, TX 77375-7605                     South Riding, VA 20152-4145             Shreveport, LA 71104-2162




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                                            *GTL Limited                         Amarenda Uppalapati
eFax Corporation
                                            Electronic Sadan 2, MIDC             Software Quality Leaders, Inc.
PO Box 513000
                                            TTC Industrial Area                  12000 Ford. Rd. #411
Los Angeles, CA 90051-1000
                                            Mahape, Navi Mumbai 400710           Dallas, TX 75234-7249

*ADA INDIA(Ada Cellworks Engineering
Pv
                                            Mary Lou Boscardin                   Atiya Jogezai
Global Vision
                                            435 Maywood Court                    6101 Saintsbury Drive Apt. 232
Electronic Sadan 2
                                            Mechanicsburg, PA 17050              The Colony, TX 75056
MIDC TTC Industrial Area
Mahape Navi Mumbai 400 710
                                            Candace Plank
                                            c/o Allison Maynard
Paytime Harrisburg, Inc.                                                         Urmeet Juneja
                                            Wilson Elser
5053 Ritta Rd., #100                                                             2420 Elm Leaf Ln
                                            Bank of America Plaza
Mechanicsburg, PA 17055                                                          Plano, TX 75025-5182
                                            901 Main Street, Suite 4800
                                            Dallas, Texas 75202

                                                                                 Avis Budget Group
                                            Corporate Recovery Associates, LLC
GTL (USA), Inc.                                                                  c/o Thomas Henry Scott
                                            3830 Valley Centre Drive
5200 Tennyson Parkway, Suite 200                                                 Basham & Scott
                                            Suite 705-152
Plano, TX 75024-7147                                                             P.O. Box 450676
                                            San Diego, CA 92130-3320
                                                                                 Houston, TX 77245


Internal Revenue Service
                                            Origin to Future, Inc.               Origin to the Future
1100 Commerce St
                                            8113 Strecker Lane                   7800 Preston Road, Suite 127
M/S MC5027DAL
                                            Plano, TX 75025                      Plano, TX 75024
Dallas, TX 75242


Internal Revenue Service                                                         U.S. Equal Employment Opportunity
Attn: Donna Aaron                           Department of the Treasury           Commission
Mail Stop 4030-OKC                          Internal Revenue Service             Philadelphia District Office
55 N Robinson                               Washington, DC 20224                 801 Market Street, Ste. 1300
Oklahoma City, OK 73102                                                          Philadelphia, PA 19107


                                            The Department of Public Utilities
The Claims Center, LLC                                                           Montana Department of Revenue
                                            Citizens Energy Group
12661 Challenger Parkway, Suite 200A                                             PO Box 8021
                                            2020 N. Meridian St.
Orlando, FL 32826                                                                Helena, MT 59604-8021
                                            Indianapolis, IN 46202


                                                                                 Montana Workforce Services Division
Montana Department of Revenue               Montana Department of Revenue        Scott-Eychner – Administrator
PO Box 6309                                 PO Box 7149                          1315 East Lockey
Helena, MT 59604-6309                       Helena, MT 59604-7149                PO Box 1728
                                                                                 Helena, MT 59604-1728


West Virginia Works
                                            Virginia Employment Commission       Utah Department of Workforce Services
State Government Office
                                            703 E. Main St.                      875 N. Main Street
407 Neville St. #1
                                            Richmond, VA 23219                   Beaver, UT 84713
Beckley, WV 25801


Department of Labor & Workforce
Development                                 Unemployment Tax Services            State of New York Labor Department
Burns Phillips, Commissioner                444 N. 3rd Street, #3B               75 Varick Street, Fl7
220 French Landing Drive                    Philadelphia, PA 19123               New York, NY 10013
Nashville, TN 37243



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New Jersey Department of Labor and                                          Mississippi Department of Employment
                                          Division of Employment Security
Workforce Development                                                       Security
                                          421 E. Dunklin Street
PO Box 381                                                                  1235 Echelon Parkway
                                          Jefferson City, MO 65101
Trenton, NJ 08625-0381                                                      Jackson, MS 39213


State of Maryland Unemployment
                                          Indiana Department of Labor       Florida Labor & Employment Security
Commission
                                          402 W. Washington St., Room 195   1864 17th Street
103 Chesapeake Blvd.
                                          Indianapolis, IN 46204            Sarasota, FL 34234
Elkton, MD 21921


                                                                            State of Delaware
Alabama Department of Labor               Georgia Department of Revenue
                                                                            Division of Revenue
1060-C East South Blvd.                   1800 Century Blvd. NE
                                                                            20653 Dupont Blvd. Unit 2
Montgomery, AL 36131-2260                 Atlanta, GA 30345
                                                                            Georgetown, DE 19947


Pennsylvania Department of Revenue
Bureau of Corporation Taxes
PO Box 280703
Harrisburg, PA 17128-0703




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TAX RETURN - SERVICE LIST
In re GTL (USA), Inc.                       Alabama Department of Revenue       Alabama Department of Revenue – Legal
Case No. 15-40248                           Corporate Income Tax                Division
Updated as of November 20, 2015             P.O. Box 327430                     P. O. Box 320001
KRCL File No. 3985596v1                     Montgomery, AL 36132-7430           Montgomery, AL 36132-0001


Alabama Department of Industrial
                                            Arizona Department of Revenue       Arizona Department of Revenue
Relations – Legal Division
                                            P.O. Box 29079                      P.O. Box 29085
649 Monroe Street, Room 1801
                                            Phoenix, AZ 85038-9079              Phoenix, AZ 85038-9085
Montgomery, AL 36131


DES Unemployment Tax                        Arizona Department of Revenue
                                                                                Franchise Tax Board
Arizona Department of Economic Security     Bankruptcy Unit
                                                                                P.O. Box 942857
P.O. Box 52027                              1600 West Monroe, 7th Floor
                                                                                Sacramento, CA 94257-0531
Phoenix, AZ 85072-2027                      Phoenix, AZ 85007


Bankruptcy Section MS A340                  CA Unemployment Tax
                                                                                Employment Development Department
Franchise Tax Board                         Employment Development Department
                                                                                P.O. Box 989150
P.O. Box 2952                               P.O. Box 826880
                                                                                West Sacramento, CA 95798-9150
Sacramento, CA 95812-2952                   Sacramento, CA 94280-0001


                                            Florida Department of Revenue
Florida Department of Revenue                                                   Georgia Department of Revenue
                                            Bankruptcy Unit
5050 W. Tennessee Street                                                        P.O. Box 740397
                                            P.O. Box 6668
Tallahassee, FL 32399-0135                                                      Atlanta, GA 303374-0397
                                            Tallahassee, FL 32314-6668


                                                                                Illinois Department of Revenue
Georgia Department of Revenue               Illinois Department of Revenue
                                                                                Bankruptcy Section
P.O. Box 740320                             P.O. Box 19008
                                                                                P.O. Box 64338
Atlanta, GA 303374-0320                     Springfield, IL 62794-9008
                                                                                Chicago, IL 60664-0338


Illinois Department of Employment
                                                                                Indiana Department of Revenue
Security                                    Indiana Department of Revenue
                                                                                Bankruptcy Section – MS 108
33 South State Street – Bankruptcy Unit –   P.O. Box 7231
                                                                                100 N. Senate Avenue, N240
10th Flr.                                   Indianapolis, IN 46207-7231
                                                                                Indianapolis, IN 46204
Chicago, IL 60603-2808


Internal Revenue Service                    Maryland Revenue Administration     Comptroller of Maryland
Centralized Insolvency Operation            Division                            P.O. Box 1829
P.O. Box 7346                               110 Carroll Street                  Attn Legal Section
Philadelphia, PA 19101-7346                 Annapolis, MD 21411-0001            Annapolis, MD 21404


                                                                                Mississippi State Tax Commission
Mississippi Department of Revenue           Mississippi Department of Revenue
                                                                                Bankruptcy Section
P.O. Box 23050                              P.O. Box 23075
                                                                                P.O. Box 22808
Jackson, MS 39225-3050                      Jackson, MS 39225-3075
                                                                                Jackson, MS 39225-2809


                                            Director of Revenue                 Missouri Department of Revenue
Missouri Department of Revenue
                                            Secretary of State                  Bankruptcy Unit
P.O. Box 700
                                            P.O. Box 1366                       P.O. Box 475
Jefferson City, MO 65105-0700
                                            Jefferson City, MO 65102-1366       Jefferson City, MO 65105-0475



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                                                                                           State of New Jersey – Division of Taxation
State of New Jersey                            New Jersey Division of Taxation             Compliance and Enforcement –
Div. of Taxation – Rev Processing Center       Corp. Service Audit Group                   Bankruptcy Unit
P.O. Box 666                                   P.O. Box 277                                50 Barrack Street, 9th Floor
Trenton, NJ 08646-0666                         Trenton, NJ 08695-0277                      P.O. Box 245
                                                                                           Trenton, NJ 08695-0267

                                               Commissioner of Taxation & Finance
                                                                                           New York State Corporation Tax
NYS Dept. of Taxation & Finance                NYS Assessment Receivables
                                                                                           Processing Unit
P.O. Box 15163                                 General Post Office
                                                                                           P.O. Box 22094
Albany, NY 12212-5163                          P.O. Box 4128
                                                                                           Albany, NY 12201-2094
                                               Binghamton, NY 13902-4128

                                                                                           Oklahoma Tax Commission
GTL (USA, Inc.)                                NYS Dept. of Taxation & Finance
                                                                                           General Counsel's Office – Bankruptcy
Attn: Rajiv Kamat                              Bankruptcy Unit
                                                                                           Section
5200 Tennyson Parkway, Suite 200               P.O. Box 5300
                                                                                           120 N. Robinson, Suite 2000 W
Plano, TX 75024                                Albany, NY 12205-0030
                                                                                           Oklahoma City, OK 73102-7895


Oklahoma Tax Commission                        Oklahoma Employment Security                Oklahoma Tax Commission
Franchise Tax                                  Commission                                  General Counsel's Office
Post Office Box 26920                          P.O. Box 52004                              100 N. Broadway Ave., Suite 1500
Oklahoma City, OK 73126-0920                   Oklahoma City, OK 73152-2004                Oklahoma City, OK 73102-8601


Pennsylvania Department of Revenue                                                         Tennessee Department of Revenue
                                               Cumberland County Tax Bureau
Department 280946                                                                          Andrew Jackson State Office Building
                                               21 Waterford Drive, Suite 201
Attn: Bankruptcy Division                                                                  500 Deaderick Street
                                               Mechanicsburg, PA 17050-8268
Harrisburg, PA 17128-0946                                                                  Nashville, TN 37242

                                                                                           Texas Workforce Commission Regulatory
Tennessee Department of Revenue
                                                                                           Integrity Division – SAU
Attorney General's Office, Bankruptcy          Texas Comptroller of Public Accounts
                                                                                           Office of the Attorney General,
Division                                       P.O. Box 149348
                                                                                           Bankruptcy – Collection Division MC 008
P.O. Box 20207                                 Austin, TX 78714-9348
                                                                                           P.O. Box 12548
Nashville, TN 37202-0207
                                                                                           Austin, TX 78711-2548

Texas Comptroller of Public Accounts
                                               Texas Attorney General
Revenue Accounting Div – Bankruptcy                                                        Texas Attorney General
                                               Bankruptcy Collections Division
Section                                                                                    1412 Main Street, Suite 81
                                               PO Box12548
P.O. Box 13528                                                                             Dallas, TX 75202-4014
                                               Austin, TX 78711-2548
Austin, TX 78711-3528

                                                                                           Utah State Tax Commission
Texas Workforce Commission
                                               Utah State Tax Commission                   Taxpayer Services Division
Bankruptcy Unit Room 556
                                               210 North 1950 West                         Attention Compliance Services Unit
101 East 15th Street
                                               Salt Lake City, UT 84134-0300               210 North 1950 West
Austin, TX 78778-0001
                                                                                           Salt Lake City, UT 84134-0180

State of Utah Office of the Attorney
General                                                                                    Commonwealth of Virginia Department of
                                               State of Utah Office of Recovery Services
Tax & Revenue Division                                                                     Taxation
                                               P.O. Box 45033
160 East 300 South, 5th Floor                                                              P.O. Box 2156
                                               Salt Lake City, UT 84145-0033
P.O. Box 140874                                                                            Richmond, VA 23218-2516
Salt Lake City, UT 84114-0874

Treasury of Virginia
                                               Commonwealth of Virginia                    Commonwealth of Virginia
State Corporation Commission
                                               Department of Taxation                      Tax Authority Consulting Services, PC
Clerk's Office
                                               P.O. Box 1115                               P.O. Box 2156
P.O. Box 7607
                                               Richmond, VA 23230                          Richmond, VA 23218
Merrifield, VA 22116-7607



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                                                                                   West Virginia Division of Tax and
West Virginia State Tax Dept.            West Virginia State Tax Department
                                                                                   Revenue
Tax Account Administration Div.          Tax Account Administration Department
                                                                                   Bankruptcy Unit
P.O. Box 1202                            P.O. Box 11514
                                                                                   P.O. Box 766
Charleston, WV 25324-1202                Charlestown, WV 25339-1514
                                                                                   Charleston, WV 25323-0766


Georgia Dept. of Revenue                 Richard J. Feferman
Suite 9100                               c/o Corporate Recovery Associates, LLC
1800 Century Boulevard, NE               3830 Valley Center Drive, Suite 705-152
Atlanta, GA 30345                        San Diego, CA 92130




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